         Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 1 of 14



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------x
UNITED STATES OF AMERICA,

                                                                         12-cr-647 (PKC)

                -against-                                                MEMORANDUM
                                                                          AND ORDER

MICHAEL LITTLE,

                                  Defendant.
-----------------------------------------------------------x
CASTEL, U.S.D.J.
                Defendant Michael Little moves for partial dismissal of the Second Superseding

Indictment on the grounds that his prosecution for failure to file individual income tax returns

and Reports of Foreign Bank and Financial Accounts (“FBARs”) would deprive him of due

process of law in violation of the Fifth Amendment to the United States Constitution. Little

asserts that at the time of the events charged in the indictment he was a U.K. citizen and a lawful

permanent resident of the U.S. He argues that the statutes and regulations requiring U.K.

citizens with permanent residence status under U.S. immigration law to file U.S. income tax

returns and FBARs, when read in conjunction with the U.S./U.K. Tax Treaty (the “Treaty”), are

ambiguous, such that a person of ordinary intelligence lacks notice as to what constitutes

compliance with the law. The Court finds that none of the relevant statutes or regulations,

whether read in isolation or together, or in conjunction with the Treaty, are so ambiguous that

they could properly be found unconstitutionally vague as applied to the charged conduct.

Defendant’s motion for partial dismissal of the indictment is thus denied.

BACKGROUND

                A grand jury returned a nineteen count Second Superseding Indictment against

defendant Little, filed on March 18, 2013, charging him with willful failure to file individual
         Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 2 of 14



income tax returns and FBARs, as well various crimes arising out of his alleged assistance of

Harry G. A. Seggerman’s heirs in a scheme to avoid the taxes due on their inheritance held in

undeclared offshore accounts. (Dkt. No. 48.) Little first raised his due process arguments in a

letter to the Court dated February 9, 2017. (Dkt. No. 230.) The Court directed the government

to respond. (Dkt. No. 231.) The government responded on March 2, 2016, (Dkt. No. 234), Little

replied on March 21, 2017, (Dkt. No. 239), and supplemented this submission on April 10, 2017,

(Dkt. No. 244.)

DISCUSSION

                Defendant Little moves to dismiss Counts One through Eight of the Second

Superseding Indictment on the grounds that the statutes and regulations requiring him to file

individual income tax returns and FBARs, as well as those attaching criminal liability to such

failure, are unconstitutionally vague in violation of the Due Process Clause of the Fifth

Amendment.

I.      Void for Vagueness Standard.

                “As generally stated, the void-for-vagueness doctrine requires that a penal statute

define the criminal offense with sufficient definiteness that ordinary people can understand what

conduct is prohibited and in a manner that does not encourage arbitrary and discriminatory

enforcement.” United States v. Rybicki, 354 F.3d 124, 129 (2d Cir. 2003) (quoting Kolender v.

Lawson, 461 U.S. 352, 357 (1983)). Because the First Amendment is not implicated, the Court

assesses Little’s challenge as applied, i.e., “in light of the specific facts of the case at hand and

not with regard to the statute’s facial validity.” Id. (quoting United States v. Nadi, 996 F.2d 548,

550 (2d Cir. 1993)). Courts examine as-applied vagueness claims in two steps: “a court must

first determine whether the statute gives the person of ordinary intelligence a reasonable



                                                 -2-
        Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 3 of 14



opportunity to know what is prohibited and then consider whether the law provides explicit

standards for those who apply it.” Rubin v. Garvin, 544 F.3d 461, 468 (2d Cir. 2008) (quoting

Farrell v. Burke, 449 F.3d 470, 486 (2d Cir. 2006)). The “novelty” of a prosecution does not

bolster a vagueness challenge, for the lack of a prior “litigated fact pattern” that is “precisely” on

point is “immaterial.” United States v. Kinzler, 55 F.3d 70, 74 (2d Cir. 1995).

               “A scienter requirement may mitigate a law’s vagueness, especially where the

defendant alleges inadequate notice.” Rubin, 544 F.3d at 467 (citing Vill. of Hoffman Estates v.

Flipside, Hoffman Estates, Inc., 455 U.S. 489, 499 (1982)). Where “the punishment imposed is

only for an act knowingly done with the purpose of doing that which the statute prohibits, the

accused cannot be said to suffer from lack of warning or knowledge that the act which he does is

a violation of law.” United States v. Tannenbaum, 934 F.2d 8, 12 (2d Cir. 1991) (quoting

Screws v. United States, 325 U.S. 91, 102 (1945) (plurality opinion)) (Bank Secrecy Act

provision requiring reporting by financial institutions not void for vagueness when applied to an

individual because the Act defined financial institutions to include “[a] person who engages as a

business in dealing in or exchanging currency” and defendant knew he was “committing a

wrongful act.”)

               The Court must conduct separate inquiries into the underlying statutes and

regulations and then into the statutes imposing criminal penalties for certain types of violations

of these statutes and regulations. First, the Court finds that the U.S. statutes and regulations that

require alien lawful permanent residents (green card holders) to either (a) file a tax return and

pay taxes on worldwide income, or (b) file a tax return reporting worldwide income and indicate

that he or she is taking a particular protection under the Treaty, are not unconstitutionally vague

as applied. Second, the Court finds that the statutes providing for criminal sanctions against



                                                 -3-
         Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 4 of 14



individuals who violate these obligations are not vague as applied to alien lawful permanent

residents.

II.    U.S. Tax and Reporting Obligations for Alien Lawful Permanent Residents.

               An alien individual who is a lawful permanent resident of the United States is

treated as a resident of the United States for tax payment and reporting purposes. 26 U.S.C. §

7701(b)(1)(A). This treatment applies regardless of whether the individual is physically present

in the U.S. or not. An individual is a lawful permanent resident of the U.S. if the individual has

been lawfully accorded the privilege of residing permanently in the U.S. as an immigrant in

accordance with the immigration laws, as long as this status has not been revoked or

administratively or judicially determined to have been abandoned. 26 U.S.C. § 7701(b)(6). In

2008 Congress amended 26 U.S.C. § 7701(b)(6) to add the following language:

               An individual shall cease to be treated as a lawful permanent
               resident of the United States if such individual commences to be
               treated as a resident of a foreign country under the provisions of a
               tax treaty between the United States and the foreign country, does
               not waive the benefits of such treaty applicable to residents of the
               foreign country, and notifies the Secretary of the commencement
               of such treatment.

26 U.S.C. § 7701(b)(6)(B).

               Under 26 U.S.C. § 6012 and 26 C.F.R. § 1.6012-1, a U.S. resident is required to

file an income tax return each year on a Form 1040.

               An individual who is a U.S. resident as well as a resident of a foreign country is a

dual resident. If the U.S. is party to a tax treaty with the foreign country of which the dual

resident is also a resident, then that treaty will determine the residency status of that resident.

               The U.S. is party to a tax treaty with the U.K.: the Convention between the

Government of the United States of America and the Government of the United Kingdom of



                                                 -4-
        Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 5 of 14



Great Britain and Northern Ireland for the Avoidance of Double Taxation and the Prevention of

Fiscal Evasion with Respect to Taxes on Income and on Capital Gains, effective July 24, 2001.

The residence provisions of the Treaty, or “tie breaker rules,” dictate that, for the purposes of the

taxation of worldwide income, when an individual is a dual resident of the U.S. and U.K.:

               a) he shall be deemed to be a resident only of the State in which
                  he has a permanent home available to him; if he has a
                  permanent home available to him in both States, he shall be
                  deemed to be a resident only of the State with which his
                  personal and economic relations are closer (centre of vital
                  interests);
               b) if the State in which he has his centre of vital interests cannot
                  be determined, or if he does not have a permanent home
                  available to him in either State, he shall be deemed to be a
                  resident only of the State in which he has an habitual abode;
               c) if he has an habitual abode in both States or in neither of them,
                  he shall be deemed to be a resident only of the State of which
                  he is a national;
               d) if he is a national of both States or of neither of them, the
                  competent authorities of the Contracting States shall endeavour
                  to settle the question by mutual agreement.

Treaty, art. IV, § 4. Explicitly excluded from this treatment are taxes due to either State by “any

person who is liable to tax in that State in respect only of income from sources in that State or of

profits attributable to a permanent establishment in that State.” Id. at art. IV, § 1.

               A dual resident of the U.S. and the U.K. may claim benefits under the Treaty and

be treated as a nonresident alien for the purposes of computing his U.S. federal income tax

liability. To receive such treatment, the individual must file a Form 1040NR:

               An alien individual . . . who determines his or her U.S. tax liability
               as if he or she were a nonresident alien shall make a return on
               Form 1040NR on or before the date prescribed by law (including
               extensions) for making an income tax return as a nonresident. The
               individual shall prepare a return and compute his or her tax
               liability as a nonresident alien. The individual shall attach a
               statement (in the form required in paragraph (c) of this section) to
               the Form 1040NR. The Form 1040NR and the attached statement,



                                                 -5-
        Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 6 of 14



               shall be filed with the Internal Revenue Service Center,
               Philadelphia, PA 19255.

26 C.F.R. § 301.7701(b)-7(b). The individual must also file as an attachment to his or her Form

1040NR a completed Form 8833 (Treaty-Based Return Position Disclosure). 26 C.F.R. §

301.7701(b)-7(c).

               The filing of this Treaty-Based Return Position Disclosure is also mandated as

part of a separate and independent reporting obligation pursuant to 26 U.S.C. § 6114:

               (a) Each taxpayer who, with respect to any tax imposed by this
                   title, takes the position that a treaty of the United States
                   overrules (or otherwise modifies) an internal revenue law of
                   the United States shall disclose (in such manner as the
                   Secretary may prescribe) such position—
                        (1) on the return of tax for such tax (or any statement
                            attached to such return), or
                        (2) if no return of tax is required to be filed, in such form as
                            the Secretary may prescribe.

Thus, the filing of Form 8833 satisfies the reporting requirements of both 26 C.F.R. §

301.7701(b)-7(b) and 26 U.S.C. § 6114 with respect to disclosing that the filing individual is

taking a Treaty position. See 26 C.F.R. § 301.7701(b)-7(d).

               For further clarification regarding filing requirements, 26 C.F.R. § 301.7701(b)-

7(e) sets forth examples to illustrate the application of these rules and the tax and reporting

obligations of individuals who do or do not take a Treaty position.

III.   The Tax and Reporting Obligations Applicable to Alien Permanent Residents are not
       Void as Applied.

       A. Failure to File Tax Returns.

               Little argues that the 2008 amendment to 26 U.S.C. § 7701(b)(6), when read in

conjunction with the Treaty, created an ambiguity regarding a permanent resident’s tax and

reporting obligations. (Def.’s Reply in Supp. of Mot. to Dismiss, March 21, 2017, Dkt. No. 239



                                                 -6-
         Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 7 of 14



(“D.’s Reply”) at 2.) He argues that this amendment brought the law into compliance with the

Treaty, which states:

                An individual who is a United States citizen or an alien admitted to
                the United States for permanent residence (a ‘green card’ holder) is
                a resident of the United States only if the individual has a
                substantial presence, permanent home or habitual abode in the
                United States and if that individual is not a resident of a State other
                than the United Kingdom for the purposes of a double taxation
                convention between that State and the United Kingdom.

Treaty, art. 4 § 2. Little argues that because he was only temporarily in the U.S. between 2005-

2008, this language from the Treaty would lead a person of ordinary intelligence to believe that

he was not a resident of the U.S. for tax purposes. (D.’s Reply at 2.) Little also argues that the

Court should not interpret any subsequently passed legislation or regulation as having modified

the Treaty, citing TWA v. Franklin Mint Corp., 466 U.S. 243, 252 (1984) (“A treaty will not be

deemed to have been abrogated or modified by a later statute unless such purpose on the part of

Congress has been clearly expressed.”). (D.’s Reply at 3.)

                Little cites several more provisions of the Treaty that he claims are inconsistent

with the above described tax and reporting obligations imposed by U.S. statutes and regulations,

arguing that an alien lawful permanent resident of ordinary intelligence would be unclear as to

what was needed to comply with the law. He cites, among other portions of the Treaty, Article

25, which states:

                Nationals of a Contracting State shall not be subjected in the other
                Contracting State to any taxation or any requirement connected
                therewith that is more burdensome than the taxation and connected
                requirements to which nationals of that other State in the same
                circumstances, particularly with respect to taxation on worldwide
                income, are or may be subjected.

Treaty, art. 25, § 1.




                                                 -7-
         Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 8 of 14



               Little appears to interpret this language to mean that a U.K. national cannot be

subject to any requirement in the U.S. that is more burdensome than that which that person

would be subject to in the U.K. (D.’s Reply at 4.) Little’s interpretation is erroneous. A plain

reading of the forgoing language is that a U.K. national cannot be subject to requirements in the

U.S. that are more burdensome than those that U.S. nationals are subject to within the U.S.

Thus, Little’s contention that failure to file tax returns in the U.K. is not a criminal offence is

irrelevant.

               Little goes on to argue that even under U.S. law the penalty for failing to disclose

a Treaty position is a financial penalty, not the denial of Treaty benefits, citing 26 U.S.C. § 6712

(imposing a $1,000 penalty for failure to comply with 26 U.S.C. § 6114). (Id. at 3.) He further

argues that failure to disclose that one is taking a Treaty position does not prohibit one from

doing so, citing Pekar v. Commissioner, 113 T.C. 158, 161 n.5 (1999) (“A taxpayer who fails in

a material way to disclose one or more positions taken for a taxable year is subject to a separate

penalty for each failure to disclose a position. However, there is no indication that this failure

estops a taxpayer from taking such a position.”) (internal citations omitted).

               Little also cites language in Articles 3, 5, 7, and 26 of the Treaty, which he argues

exempt the income he made working in the U.S. from taxation by the U.S. (D.’s Reply at 4.)

               Little’s arguments lack merit. Based on the above cited statutes and regulations,

an alien lawful permanent resident of ordinary intelligence would know that he or she needed to

either (a) file a tax return and pay taxes on worldwide income, or (b) file a tax return reporting

worldwide income and indicate that he or she is taking a particular protection under the Treaty.

An individual’s obligation to pay taxes on either his income earned while in the U.S., or his




                                                 -8-
        Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 9 of 14



worldwide income, is irrelevant to his or her obligation to disclose such income and report it

pursuant to the above discussed statutes and regulations.

               The U.S. statutes and regulations giving rise to these obligations are thus not void

as applied to the conduct with which Little is charged in the Second Superseding Indictment.

Dicta in a decades-old Tax Court case does not render the obligations imposed on Little by these

statutes and regulations unconstitutionally vague.

               Little’s argument that the failure to take a Treaty position can result only in a

financial penalty also lacks merit. 26 U.S.C. § 6712(c) expressly states that “[t]he penalty

imposed by this section shall be in addition to any other penalty imposed by law.”

               Little also contends that he was informed by Her Majesty’s Revenue and Customs

that he was a U.K. tax resident pursuant to the Treaty and thus not required to file U.S. tax

returns. (Def.’s February 9, 2017 Letter, Dkt. No. 230 at 2.)

               Advice of counsel is an affirmative defense that must be based in fact and raised

at trial by the defendant, who must prove that he “(1) ‘honestly and in good faith’ sought the

advice of counsel; (2) ‘fully and honestly la[id] all the facts before his counsel’; and (3) ‘in good

faith and honestly follow[ed]’ counsel’s advice, believing it to be correct and intending that his

acts be lawful. United States v. Colasuonno, 697 F.3d 164, 181 (2d Cir. 2012) (quoting

Williamson v. United States, 207 U.S. 425, 453 (1908)) (alternations in original). It remains to

be determined whether information from a U.K. tax official can qualify as advice of counsel.

               Under the present circumstances, no advice that Little may have received from

U.K. tax authorities affects the void for vagueness analysis of his duty to file U.S. tax returns.




                                                -9-
       Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 10 of 14



       B. Failure to File FBARs.

               Both Little and the Government agree that the Treaty does not affect any

individual’s obligation to file FBARs and that the 2007 and 2008 FBAR forms provided that

FBARs were to be filed by “citizen[s] or resident[s] of the United States, or a person in and

doing business in the United States.” (Gov.’s Opp. to Mot. to Dismiss, March 2, 2017, Dkt. No.

234 (“Gov.’s Opp.”) at 11; D.’s Reply at 4.) However, Little contends that IRS announcements

2009-51 and 2010-51 suspended the requirement for a person “in and doing business in the

United States” to file and FBAR. (D.’s Reply at 4.) Internal Revenue Bulletin: 2009-51,

“Temporary Suspension of FBAR filing Requirements for Persons who are not Citizens,

Residents, or Domestic Entities,” June 22, 2009, stated:

                [A]ll persons may rely on the definition of ‘United States person’
               found in the instructions for the prior version of the FBAR (the
               July 2000 version) to determine whether they have an obligation to
               file an FBAR. The definition of ‘United States person’ from the
               prior version is as follows: . . . The term ‘United States person’
               means (1) a citizen or resident of the United States, (2) a domestic
               partnership, (3) a domestic corporation, or (4) a domestic estate or
               trust.

               Prior to February 24, 2011, the FBAR regulations did not define the term “U.S.

resident.” Internal Revenue Manual 4.26.16.3.1.2(1). “For FBARs required to be filed June 30,

2011 or later, 31 C.F.R. § 1010.350(b) defines ‘United States resident’ using the definition of

resident alien in IRC 7701(b),” which includes green card holders such as Little. Internal

Revenue Manual 4.26.16.3.1.2(2)(1).

               For FBARs due before the June 22, 2009 announcement, there does not appear to

be any ambiguity regarding the duty to file for persons ‘in and doing business in the United

States.’ Even before the term ‘United States resident’ was defined by FBAR regulations, it

appears likely that an alien lawful permanent resident of ordinary intelligence not ‘in or doing

                                               - 10 -
         Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 11 of 14



business in’ the U.S. would have understood themselves to be under an obligation to file an

FBAR based on the definition of ‘United States resident’ in other parts of the U.S. code and

regulations. To the extent that there was any ambiguity regarding this duty, that ambiguity is

remedied for the purposes of this void for vagueness analysis by the fact that criminal penalties

only apply to a failure to file an FBAR if such failure to file was willful, as will be discussed

below.

IV.      The Relevant Criminal Statutes as Applied are not Void for Vagueness.

                Little argues that Counts One through Eight of the Second Superseding

Indictment must be dismissed pursuant to the void for vagueness doctrine of the Due Process

Clause of the Fifth Amendment. Count One of the Second Superseding Indictment charges

Little with Obstructing and Impeding the Due Administration of Internal Revenue Laws in

violation of 26 U.S.C. § 7212(a); Counts Two through Seven charge Little with Failure to File

Individual Income Tax Returns for Tax Years 2005-2010 in violation of 26 U.S.C. § 7203; Count

Eight charges Little with Willful Failure to File Reports of Foreign Bank and Financial Accounts

in violation of 31 U.S.C. § 5322(a). Because a person of ordinary intelligence would understand

that these statutes impose criminal penalties on persons engaging in the conduct in which Little

is alleged to have engaged, these statutes are not void for vagueness as applied to Little.

                26 U.S.C. § 7212(a) makes it unlawful to “corruptly . . . obstruct[] or impede[], or

endeavor[] to obstruct or impede, the due administration of” the Internal Revenue Code. 26

U.S.C. § 7212(a). “To act or endeavor ‘corruptly,’ within the meaning of this section, means to

act or endeavor ‘with the intent to secure an unlawful advantage or benefit either for one’s self or

for another.’” United States v. Parse, 789 F.3d 83, 121 (2d Cir. 2015) (quoting United States v.

Kelly, 147 F.3d 172, 177 (2d. Cir. 1998)).



                                                - 11 -
        Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 12 of 14



                Count One, paragraph nine of the Second Superseding Indictment alleges that

Little took six separate actions, in addition to failing to file FBARs and tax returns, that violated

Section 7212(a) in connection with the alleged scheme to avoid the taxes due on the Seggerman

heirs’ inheritance, and the government represents it intends to rely on those actions rather than on

the failure to file tax returns or FBARs. (Gov.’s Opp. at 14-15.) A person of ordinary

intelligence would understand that conduct of the type alleged in paragraph nine would expose

an individual to criminal penalties for obstruction under the meaning of section 7212(a). Thus,

there is no void for vagueness issue with respect to Little’s prosecution for obstruction of the

internal revenue laws.

                26 U.S.C. § 7203 makes it unlawful for “[a]ny person required under [Title 26] to

pay any estimated tax or tax, or required by this title or by regulations made under authority

thereof to make a return, keep any records, or supply any information, [to] willfully fail[] to pay

such estimated tax or tax, make such return, keep such records, or supply such information . . . .”

In Section 7203 and other statues prohibiting tax evasion, “the word ‘willfully’ . . . generally

connotes a voluntary, intentional violation of a known legal duty.” United States v. Bishop, 412

U.S. 346, 360 (1973). The Supreme Court has “formulated the requirement of willfulness as bad

faith or evil intent, or evil motive and want of justification in view of all the financial

circumstances of the taxpayer, or knowledge that the taxpayer should have reported more income

than he did.” Id. (internal citations and quotation marks omitted).

                31 U.S.C. 5322(a) makes it unlawful to “willfully violat[e]” 31 U.S.C. §§ 5311 et

seq., “or a regulation prescribed or order issued” thereunder, including 31 C.F.R. § 1010.350,

which requires certain individuals to file FBARs. Thus, to be convicted under Section 5322(a)

for violating the requirement to file an FBAR, a defendant must know of his duty to file but



                                                 - 12 -
        Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 13 of 14



intentionally fail to do so anyway. See United States v. Sturman, 951 F.2d 1466, 1476 (6th Cir.

1991) (defining “willfulness” in prosecution for failure to file records and reports of foreign

financial agency transactions as the “voluntary, intentional violation of a known legal duty”);

United States v. Eisenstein, 731 F.2d 1540, 1543 (11th Cir. 1984) (“[A]s it is used in the

currency reporting statute, the term willful require[s] proof of the defendant’s knowledge of the

reporting requirement and his specific intent to commit the crime.”) (internal quotation marks

omitted) (alterations and emphasis in original); United States v. Granda, 565 F.2d 922, 925-26

(5th Cir. 1978) (“[T]he terms knowing and willful require proof of the defendant’s knowledge of

the reporting requirement and his specific intent to commit the crime. Congress, by adding these

terms, took this regulatory statute out of the ranks of strict liability type crimes.”); United States

v. San Juan, 545 F.2d 314, 318 (2d Cir. 1976) (“Without proof of any knowledge of, or notice to,

Mrs. San Juan of the reporting requirements, a jury could not determine beyond a reasonable

doubt that she had the requisite willful intent.”).

               Thus, conviction pursuant to each of these statutes requires the government to

prove beyond a reasonable doubt that Little acted willfully with respect to the failure to file tax

returns and FBARs, and corruptly with respect to the obstruction of the internal revenue laws.

As described above, the presence of this scienter requirement undercuts any due process void for

vagueness challenge. Because a conviction may only be obtained only if the government proves,

beyond a reasonable doubt, that the defendant knew he was legally required to file tax returns or

file an FBAR, and so knowing, intentionally did not do so with the knowledge that he was

violating the law, he cannot complain that he could be convicted for actions that he did not

realize were unlawful. See, e.g., 3 L. Sand, et al., Modern Federal Jury Instructions, Criminal

Inst. 50B-11 at 50B-16 (2013) (“A willful violation of this reporting requirement can only occur



                                                - 13 -
        Case 1:12-cr-00647-PKC Document 252 Filed 05/03/17 Page 14 of 14



if the government proves beyond a reasonable doubt that the defendant knew of the reporting

requirement and that the defendant acted with the specific intent to violate that requirement.”)

CONCLUSION

               Neither the legal obligation for alien lawful permanent residents of the U.S. to file

tax returns or FBARs, nor the statutes criminalizing such failure, nor the statute prohibiting the

obstruction of the internal revenue laws, are vague as applied to Little’s alleged conduct. A

person of ordinary intelligence would know if his or her actions conformed to law. Defendant’s

motion to dismiss Counts One through Eight of the Second Superseding Indictment is DENIED.

The Clerk of the Court is directed to terminate the motion (Dkt. No. 239.)

               SO ORDERED.




Dated: New York, New York
       May 3, 2017




                                               - 14 -
